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 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
     BACKGRID USA, INC.,                               Case No.: 2:17-cv-8748
11
                     Plaintiff,                        COMPLAINT FOR COPYRIGHT
12
     vs.                                               INFRINGEMENT
13
     ANGELA RENÉE WHITE, p/k/a                         Jury Trial Demanded
14   BLAC CHYNA, and DOES 1 through 10,
15                   Defendants.
16

17

18         Plaintiff BackGrid USA, Inc., for its Complaint against Defendant Angela
19   Renée White, professionally known as Blac Chyna, and Does 1 through 10, alleges as
20   follows:
21         1.        This is an action for copyright infringement brought by plaintiff, the
22   holder of the copyright to the photographs described below, against all defendants for
23   uses of plaintiff’s photographs without authorization or permission.
24                                  JURISDICTION AND VENUE
25         2.        This is an action for injunctive relief, statutory damages, monetary
26   damages, and interest under the copyright law of the United States.
27         3.        This action arises under the Copyright Act of 1976, Title 17 U.S.C.
28   § 101 et seq.
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 1          4.     This Court has jurisdiction over the subject matter of this action under
 2   28 U.S.C. § 1331 (federal question), § 1338 (copyright), and 17 U.S.C. § 1203
 3   (alteration or removal of copyright management information).
 4          5.     This Court has personal jurisdiction over defendant because, on
 5   information and belief, she is a resident of the State of California and this judicial
 6   district and, on information and belief, is also doing business in the State of
 7   California and in this judicial district.
 8          6.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and
 9   28 U.S.C. § 1400(a).
10                                               PARTIES
11          7.     Plaintiff BackGrid USA, Inc. is an entity organized and existing under
12   the laws of the state of California with its principal place of business in Redondo
13   Beach, California. Plaintiff is a global premier celebrity news and photo agency that
14   provides the world’s top news outlets with real-time content from the world’s top
15   photographers.
16          8.     Plaintiff also maintains a library of photographs on a diverse range of
17   subjects including celebrities, music, sports, fashion, and royalty. Plaintiff licenses its
18   photographs to leading magazines, newspapers, and editorial clients, throughout the
19   world, including in the United States and in California.
20          9.     Defendant Angela Renée White is a model, businesswoman, and
21   entrepreneur who is a resident of Los Angeles County. Her business interests include
22   or have included a make-up brand and accessories line, a clothing line, and an online
23   boutique selling her branded products. In 2014, defendant purchased a beauty bar in
24   Encino, Los Angeles, where she offers make-up courses.
25          10.    Defendants DOES 1 through 10, inclusive, are other parties not yet
26   identified who have infringed plaintiff’s copyrights, have contributed to the
27   infringement of plaintiff’s copyrights, or have engaged in one or more of the
28   wrongful practices alleged in this Complaint. The true names of defendants 1 through
                                                     2
                                                 COMPLAINT
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 1   10 are currently unknown to plaintiff, which therefore sues them by fictitious names
 2   and will seek leave to amend this Complaint to show their true names and capacities
 3   when that has been ascertained.
 4         11.    Plaintiff is informed and believes and on that basis alleges that at all
 5   relevant times each of the defendants was the agent, affiliate, officer, director,
 6   manager, principal, alter ego, and/or employee of the remaining defendants and was
 7   at all times acting within the scope of such relationship, or actively participated in or
 8   subsequently ratified and adopted each of the acts alleged, with full knowledge of all
 9   the facts and circumstances, including but not limited to, full knowledge of each and
10   every violation of plaintiff’s rights and damages to plaintiff proximately caused by
11   such violation.
12                                  BACKGROUND FACTS
13         12.    Plaintiff is the owner and copyright holder of photographic images (the
14   “Photographs”) as follows:
15                a. Images that are part of a series of photos depicting defendant with
16                     acquaintances outside of popular Hollywood nightclub Nightingale
17                     Plaza (the “Nightingale Images”);
18                b. Images that are part of a series of photos depicting defendant in an
19                     office-building parking lot with an acquaintance (the “Parking Lot
20                     Images”).
21         13.    Complete applications, fees, and deposits for copyright registrations of
22   the Photographs have been submitted to and received by the Copyright Office in
23   compliance with the Copyright Act. A copy of the applications are attached as
24   Exhibit A.
25         14.    The Nightingale Images were created by author Julio Toledo and
26   licensed for limited use to the pop-culture multi-media entertainment group Just
27   Jared, which published some of them to its website JustJared.com on September 13,
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                                            COMPLAINT
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 1   2017. The Photographs published by JustJared.com contained copyright management
 2   information (“CMI”) embedded in the metadata of the images.
 3         15.    The Parking Lot Images were created by author Fabio Martins and
 4   licensed for limited use to The Daily Mail, which published some of them to its
 5   website www.dailymail.co.uk on October 25, 2017. The Photographs published by
 6   The Daily Mail contained CMI in the form of a watermark in the bottom left corner
 7   that stated “© FANA / VM / BACKGRID.”
 8         16.    Plaintiff never licensed any of the Photographs to defendants.
 9   Nevertheless, defendants have used, and continue to use, the Photographs without
10   authorization or permission from plaintiff to do so.
11         17.    Specifically, White copied two of the Nightingale Images and
12   distributed them on Instagram on or about September 13, 2017.
13         18.    In addition, White copied at least one of the Parking Lot Images and
14   distributed it on Instagram on or about October 27, 2017.
15         19.    The copy of the Photographs that White distributed on Instagram had
16   been altered to remove the CMI showing plaintiff as the copyright owner of the
17   images.
18         20.    As of the filing of this Complaint, at least some of the Photographs were
19   still accessible on White’s Instagram feed.
20         21.    The Photographs are highly creative, distinctive, and valuable. Because
21   of White’s celebrity status, and the Photographs’ quality and visual appeal, plaintiff
22   (and the photographer it represents) stood to gain licensing revenue from licensing
23   the Photographs.
24         22.    But defendants’ unauthorized use harms the existing and future market
25   for the original Photographs. White’s Instagram post made the Photographs
26   immediately available to her 13.5 million followers and other consumers of
27   entertainment news—especially news and images of White herself, as evidenced by
28   their status as followers of White—who would otherwise be interested in viewing
                                                   4
                                           COMPLAINT
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 1   licensed versions of the Photographs in the magazines and newspapers that are
 2   plaintiff’s customers.
 3         23.    In addition, defendants’ unauthorized use is commercial in nature. White
 4   uses her Instagram feed for the purposes of promotion—specifically, to promote her
 5   business interests, products, and ventures; to promote and sell the products and
 6   services of others; to maintain and increase her visibility and desirability as an
 7   endorser, actor, model, and entertainment personality; and to promote her persona
 8   and celebrity status. In short, every one of White’s Instagram posts is fundamentally
 9   promoting something to her 67 million followers.
10         24.    In addition, White’s Instagram post of one of the Parking Lot Images
11   expressly promoted clothing brand Fashion Nova. On information and belief, White
12   is a paid endorser of Fashion Nova and therefore received compensation for her
13   Instagram post that promoted the brand.
14         25.    At the time that defendants copied and distributed the Photographs, they
15   knew or should have known that they did not have authorization or permission to do
16   so.
17         26.    Defendants did not disclose their unauthorized uses of the Photographs
18   to plaintiff or seek permission to use the Photographs. But for plaintiff’s discovery of
19   defendants’ authorized uses, their infringements would still be concealed.
20                                        CLAIM ONE
21                 (For Copyright Infringement – Against All Defendants)
22         27.    Plaintiff realleges and incorporates by reference the allegations
23   contained in the preceding paragraphs of this Complaint as if fully set forth here.
24         28.    The foregoing acts of defendants constitute infringement of plaintiff’s
25   copyrights in the Photographs in violation of 17 U.S.C. §§ 501 et seq.
26         29.    Plaintiff suffered damages as a result of defendants’ unauthorized use of
27   the Photographs.
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                                            COMPLAINT
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 1         30.     Plaintiff is informed and believes and on that basis alleges that
 2   defendants’ acts of copyright infringement, as alleged above, were willful,
 3   intentional, and malicious, which further subjects defendants to liability for statutory
 4   damages under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000
 5   per infringement. Within the time permitted by law, plaintiff will make its election
 6   between actual damages and statutory damages.
 7                                        CLAIM TWO
 8               (For Vicarious and/or Contributory Copyright Infringement –
 9                                   Against All Defendants)
10         31.     Plaintiff realleges and incorporates by reference the allegations
11   contained in the preceding paragraphs of this Complaint as if fully set forth here.
12         32.     Plaintiff is informed and believes and on that basis alleges that
13   defendants knowingly induced, participated in, aided and abetted in, and profited
14   from the unauthorized reproduction and/or subsequent distribution of the
15   Photographs.
16         33.     Defendants, and each of them, are vicariously liable for the infringement
17   alleged above because, on information and belief, they had the right and ability to
18   supervise the infringing conduct and because they had a direct financial interest in the
19   infringing conduct.
20         34.     By reason of each of the defendants’ acts of contributory and vicarious
21   infringement as alleged above, plaintiff has suffered and will continue to suffer
22   substantial damages to its business in an amount to be established at trial, as well as
23   additional general and special damages in an amount to be established at trial.
24         35.     Plaintiff is informed and believes and on that basis alleges that
25   defendants’ acts of copyright infringement, as alleged above, were willful,
26   intentional, and malicious, which further subjects defendants to liability for statutory
27   damages under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000
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 1   per infringement. Within the time permitted by law, plaintiff will make its election
 2   between actual damages and statutory damages.
 3                                       CLAIM THREE
 4        (For Alteration of Copyright Management Information in Violation of
 5                         17 U.S.C. 1202 – Against All Defendants)
 6         36.    Plaintiff realleges and incorporates by reference the allegations
 7   contained in the preceding paragraphs of this Complaint as if fully set forth here.
 8         37.    On information and belief, defendants, or someone working on their
 9   behalf, removed CMI from the Photographs without authorization of plaintiff or the
10   law and then distributed the Photographs, with the CMI removed, without the
11   authorization of plaintiff or the law.
12         38.    On information and belief, defendants’ removal of the CMI from the
13   Photographs was intentional, and defendants’ distribution of the Photographs was
14   with knowledge that the CMI had been removed without authorization.
15         39.    Defendants’ actions alleged above constitute a violation of 17 U.S.C.
16   § 1202.
17         40.    Plaintiff has suffered damages as a result of defendants’ violation of
18   17 U.S.C. § 1202.
19         41.    Within the time permitted by law, plaintiff will make its election
20   between actual damages and statutory damages.
21                                  PRAYER FOR RELIEF
22   WHEREFORE, plaintiff requests the following:
23         A.     For a preliminary and permanent injunction against defendants and
24   anyone working in concert with them from further copying, displaying, distributing,
25   selling, or offering to sell plaintiff’s Photographs described in the Complaint;
26         B.     For an order requiring defendants to account to plaintiff for their profits
27   and any damages sustained by plaintiff arising from the acts of infringement;
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                                              COMPLAINT
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 1          C.    Under 17 U.S.C. § 503, for impoundment of all copies of the
 2   Photographs used in violation of plaintiff’s copyrights—including digital copies or
 3   any other means by which they could be used again by defendants without plaintiff’s
 4   authorization—as well as all related records and documents;
 5          D.    For actual damages and all profits derived from the unauthorized use of
 6   plaintiff’s Photographs or, where applicable and at plaintiff’s election, statutory
 7   damages;
 8          E.    Under 17 U.S.C. § 1203, for actual damages for the unauthorized
 9   alteration or removal of copyright information or, where applicable and at plaintiff’s
10   election, statutory damages of not less than $2,500 or more than $25,000.
11          F.    For an award of pre-judgment interest as allowed by law;
12          G.    For reasonable attorney fees;
13          H.    For court costs, expert witness fees, and all other costs authorized under
14   law;
15          I.    For such other and further relief as the Court deems just and proper.
16
                                   JURY TRIAL DEMAND
17
            Plaintiff demands a trial by jury of all issues permitted by law.
18

19

20   Dated: December 4, 2017         Respectfully submitted,

21                                   PERKOWSKI LEGAL, PC

22
                                     By:    /s/ Peter Perkowski
23
                                           Peter E. Perkowski
24
                                           Attorneys for Defendant
25                                         BACKGRID USA, INC.

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                                            COMPLAINT
